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  IJNITED STA TES O F A M ER ICA ,
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  VS.
                                                                              t,'2# 0.7 2212
  R AU L G O R RIN BELISA RIO ,                                              STEVEN M. LARiMORE
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                         N O TIC E O F LIS PEN DEN S RE :FO RFEITU R E

  GRANTEEIS):RIM Grouplnvestments1llCorp.
  TO :      A LL PERSO N S W HO M A Y CLA IVIBY ,TH ROU G H ,OR UN D ER EITH ER A
            D EFEN D AN T AN D /OR G RAN TEE any interestin the realproperty described herein.

            NOTICE IS HEREBY GIVEN,pursuanttotheprovisionsofFla.Stat.j48.23,asmade
  applicableheretoby28U.S.C.j 1964,thatonAugustl6,2018,theUnited Statesfiledacliminal
  Indictm entin the U nited States DistrictCourtforthe Southern D istrictofFlorida in the foregoing

  action. Pursuantto 2lU.S.C.j 8531),tlleUnited StatesofAmelica seeksto forfeitthereal
  property located at l44 lsla D orada Boulevard, Coral Gables, Florida 33143, including a11

  buildings,fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein or

  thereon,and which ism ore fully described as:

                  Lot 8,Block 20,of CO COPILUM SECTIO N TW O , Plat E,according to the Plat
                  thereofasrecorded in PlatBook 131,Page 76,ofthe PublicRecords()fM iam i-Dade
                  County,Florida.

                  Parcelldentification N um ber:03-4 l32-030-0080.
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         FU RTH ER N O TICE IS HER EBY G IV EN that

  prohibitany claimanttothedesclibedpropertyfrom (1)interveningin thetrialorappealofthe
  criminalcase,or(2)commencingan action atlaw orequity againsttheUnitedStatesconcenzing
  the validity ofany alleged interestsubsequentto the lndictm ent,exceptfollowing the entry ofany

  orderofforfeitureasprovidedby 21U.S.C.j853(n).


                                             Respectfully subm itted,

                                             AR IA NA FAJA RD O O RSH AN
                                             UN ITED STATES A TTO RNEY

  Thisinstrum entwas
  prepared by:                               s/Nalina Som bttntham
                                             NalinaSombuntham la.BarNo.96139)
                                             AssistantU nited StatesA ttorney
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